
In re Clara J. Rideau, applying for writs of certiorari, prohibition or mandamus. Parish of Calcasieu. No. 2839-77.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ issue herein, and that the Honorable L. E. Hawsey, Jr., Judge, and the Fourteenth Judicial District Court for the Parish of Calcasieu transmit to the Supreme Court of Louisiana on or before the 4th day of June, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein.
This cause will be heard on a date and time to be fixed by this court, to determine whether the relief prayed for in the petition of the relator should be granted.
